Case 2:05-cr-20228-SH|\/| Document 8 Filed 07/12/05 Page 1 of 2 Page|D 7

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE FELE!'.`) $~i`i'
Western Division

 

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UNITED STATES OF AMERICA ii~ni.i.`-":~“ `. L§j'leiLU
CLEHK, ill-§ __ l iCT COURT
t\." ii ,.;a? f" "
-vs- Case No. 2%§€; 32`£§`§5&:1
ANTONIO PEGUES

 

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGI PURSUANT TO
BAIL REFORM ACT

Upon motion of the Defendant, it is ORDERED that a detention hearing is set for
THURSDAY, JULY 14, 2005 at 2:45 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Ninth Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date: July 12, 2005 p//) .
' /t A/M.¢ / é`_/MW/

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

 

lIt` not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(t`)(2).
A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present, Subsection ( I) sets forth

AO 470 (BfB§) Order of Temporary Dei¢ntion

Thls document entered on the docket sheet In l_pllam:¢a
with Ru|e 55 and/or 32be FHCrP on J_LL& _` '

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 8 in
case 2:05-CR-20228 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

